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                                                                          6                        IN THE UNITED STATES DISTRICT COURT
                                                                          7                      FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                          8
                                                                                                                      )   MDL No. 1917
                                                                          9   In re: CATHODE RAY TUBE (CRT)           )
                                                                              ANTITRUST LITIGATION                    )   Case No. CV 07-5944 SC
                                                                         10                                           )
                               For the Northern District of California
United States District Court




                                                                                                                      )   ORDER GRANTING SHARP'S MOTION
                                                                         11                                           )   FOR LEAVE TO AMEND
                                                                                                                      )
                                                                         12                                           )
                                                                                                                      )
                                                                         13                                           )
                                                                              This Document Relates to:               )
                                                                         14                                           )
                                                                              Sharp Elecs. Corp. v. Hitachi,          )
                                                                         15   Ltd., No. 13-cv-01173;                  )
                                                                                                                      )
                                                                         16                                           )
                                                                         17
                                                                         18
                                                                         19   I.      INTRODUCTION
                                                                         20           Now before the Court is Plaintiffs Sharp Corporation and Sharp
                                                                         21   Electronics Manufacturing Company of America's (collectively,
                                                                         22   "Sharp") motion for leave to file an amended complaint.                ECF No.
                                                                         23   2520 ("Mot.") (filed under seal).           The Toshiba Defendants
                                                                         24   ("Toshiba") oppose the motion.          ECF Nos. 2538 ("Opp'n"), 2547
                                                                         25   ("Reply"). 1     Per Civil Local Rule 7-1(b), the Court finds the
                                                                         26
                                                                              1
                                                                         27     Toshiba also asks for leave to file a surreply, ECF No. 2553,
                                                                              which Sharp opposes, ECF No. 2563. The Court GRANTS Toshiba's
                                                                         28   motion, but does not find either party's surreply brief
                                                                              dispositive.
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                                                                          1   motion suitable for decision without oral argument and GRANTS it,
                                                                          2   as explained below.
                                                                          3
                                                                          4 II.       BACKGROUND
                                                                          5           Sharp's Complaint and First Amended Complaint alleged various
                                                                          6   antitrust and unfair competition claims against Toshiba, seeking
                                                                          7   damages based on both Sharp's purchases from Toshiba and Toshiba's
                                                                          8   joint and several liability as a co-conspirator defendant.
                                                                          9   Toshiba's sales to Sharp represent a fairly large sum, but the
                                                                         10   amount of the other defendants and co-conspirators' sales to Sharp
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                                                                         11   is far larger.       Toshiba moved to dismiss Sharp's claims under Rule
                                                                         12   12(b)(3) in October 2013, 2 and before the Court considered the
                                                                         13   motion, the Supreme Court clarified that motions to dismiss based
                                                                         14   on forum-selection clauses -- like Toshiba's motion to dismiss --
                                                                         15   were to be evaluated not under Rule 12(b)(3) but under forum non
                                                                         16   conveniens doctrine.        Atl. Marine Const. Co.., Inc. v. U.S. Dist.
                                                                         17   Ct. for the W. Dist. of Tex., 134 S. Ct. 568, 580 (2013).              After
                                                                         18   the parties discussed that doctrinal change, the Court evaluated
                                                                         19   Toshiba's motion to dismiss.
                                                                         20           That motion was based on an agreement that Sharp and Toshiba's
                                                                         21   Japanese parent companies had entered: the Basic Transaction
                                                                         22   Agreement ("BTA").        See MTD at 1.       The Court held that the BTA
                                                                         23   bound Sharp and Toshiba so far as it concerned cathode ray tube
                                                                         24   ("CRT") purchases they made from each other -- the commerce that
                                                                         25   forms the basis of this MDL -- and dismissed with prejudice Sharp's
                                                                         26   claims against Toshiba under the BTA's forum-selection clause,
                                                                         27   which stated that litigation related to purchase orders under the
                                                                         28   2
                                                                                  ECF Nos. 2000 ("MTD"), 2195 ("MTD Opp'n"), 2229 ("MTD Reply").


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                                                                          1   BTA was to be conducted in Japan.            ECF No. 2435 ("Mar. 13 Order").
                                                                          2           Sharp does not challenge the Court's dismissal of its claims
                                                                          3   based on Toshiba's sales to Sharp.           Rather, Sharp's present motion
                                                                          4   to amend is based on the fact that neither Sharp, Toshiba, nor the
                                                                          5   Court stated whether Sharp's claims against Toshiba based on joint
                                                                          6   and several liability were to remain in the case.             The March 3
                                                                          7   Order dismissed Sharp's claims, though it only discussed dismissal
                                                                          8   relative to the BTA, so the question of joint and several liability
                                                                          9   never arose.      Sharp asks for leave to amend its complaint to
                                                                         10   specify that it is only bringing claims for joint and several
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                                                                         11   liability against Toshiba.         Sharp contends that these claims are
                                                                         12   not covered by the BTA and could not have been dismissed per the
                                                                         13   forum-selection clause, which was the only matter the parties
                                                                         14   briefed.      Toshiba opposes the motion, arguing that even though
                                                                         15   neither it nor Sharp addressed joint and several liability, all
                                                                         16   claims against it (including those for joint and several liability)
                                                                         17   must have been dismissed in the Court's March 13 Order.
                                                                         18
                                                                         19 III.      LEGAL STANDARD
                                                                         20           After a party has amended a pleading once as a matter of
                                                                         21   course, it may only amend further if it obtains leave of the court.
                                                                         22   Fed. R. Civ. P. 15(a). 3       Rule 15 advises the court that "leave
                                                                         23   3
                                                                                Sharp notes that before a dismissal is made final under Rule
                                                                         24   54(b), Rule 15 is the appropriate standard for governing leave to
                                                                              amend, even when a dismissal was with prejudice. The Court agrees,
                                                                         25   because the Court has not certified any judgments under Rule 54.
                                                                              Toshiba procedurally objects on other grounds, also contending that
                                                                         26   Sharp's motion is a disguised motion for reconsideration, but the
                                                                              Court does not agree. As discussed in this Order, the posture of
                                                                         27   the case suggests that a nuanced consideration under Rule 15 is
                                                                              appropriate, and the Court declines to interpret Sharp's Rule 15
                                                                         28   motion as something other than what both parties ultimately agree
                                                                              that it is.


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                                                                          1   shall be freely given when justice so requires," and the Ninth
                                                                          2   Circuit instructs that this policy is "to be applied with extreme
                                                                          3   liberality."   Eminence Capital, LLC v. Aspeon, Inc., 316 F.3d 1048,
                                                                          4   1051 (9th Cir. 2003) (quoting Owens v. Kaiser Found. Health Plan,
                                                                          5   Inc., 244 F.3d 708, 712 (9th Cir. 2001) (additional quotations
                                                                          6   omitted)).   The Supreme Court offers additional guidance to
                                                                          7   district courts in deciding whether to grant leave to amend:
                                                                          8        In the absence of any apparent or declared reason --
                                                                                   such as undue delay, bad faith or dilatory motive on the
                                                                          9        part   of   the  movant,   repeated   failure  to   cure
                                                                                   deficiencies by amendments previously allowed, undue
                                                                         10        prejudice to the opposing party by virtue of allowance
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                                                                                   of the amendment, futility of amendment, etc. -- the
                                                                         11        leave sought should, as the rules require, be "freely
                                                                                   given."
                                                                         12
                                                                         13   Foman v. Davis, 371 U.S. 178, 182 (1962).         Consideration of
                                                                         14   prejudice to the opposing party carries the greatest weight, but
                                                                         15   absent that or a strong showing of any remaining Foman factor, Rule
                                                                         16   15(a) carries a presumption in favor of granting leave to amend.
                                                                         17   Eminence Capital, 316 F.3d at 1052.
                                                                         18
                                                                         19 IV.    DISCUSSION
                                                                         20        Sharp argues that though the dismissal was with prejudice, the
                                                                         21   Court should grant it leave to amend under Rule 15, primarily
                                                                         22   because neither party briefed the issue of joint and several
                                                                         23   liability, and granting leave to amend on that issue would serve
                                                                         24   substantial justice.     See Reply at 11-14.      From there the parties
                                                                         25   argue over who should have raised the issue, based on who should
                                                                         26   have remembered its import from separate but similar disputes
                                                                         27   regarding arbitration clauses.       Both parties are acquainted with
                                                                         28   older motions in this case, in which the parties (Toshiba, in one



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                                                                          1   such dispute) argued over whether to separate conspiracy-related
                                                                          2   joint and several liability claims from direct-purchaser claims in
                                                                          3   motions to compel arbitration.
                                                                          4        This dispute appears to hinge on an assessment of whether
                                                                          5   Toshiba should have pointed out the missing issue to Sharp, as
                                                                          6   opposed to Toshiba's enjoying the benefit of Sharp's omission and
                                                                          7   then claiming waiver.     The Court declines to entertain that line of
                                                                          8   argument, finding that the liberal standard of Rule 15, subject to
                                                                          9   the Foman factors, governs the Court's resolution of this matter.
                                                                         10        Accordingly, the question for the present motion is whether
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                                                                         11   Sharp is entitled to amend its complaint per the Foman factors.
                                                                         12   Toshiba argues that Sharp's proposed amendment is futile, either
                                                                         13   because the BTA committed the joint and several claims to the
                                                                         14   jurisdiction of the Osaka District Court, or because the forum non
                                                                         15   conveniens doctrine would render the claim futile independently of
                                                                         16   the BTA.
                                                                         17        A.      The Foman Factors
                                                                         18        Toshiba's brief appears to contest only the futility factor of
                                                                         19   Foman.     As a threshold matter, the Court agrees that the other
                                                                         20   Foman factors are not at issue.       First, Toshiba's long involvement
                                                                         21   in this litigation does not raise questions of prejudice,
                                                                         22   especially since Sharp's proposed amendment does not raise novel
                                                                         23   issues in this case.     Second, the Court does not find that Sharp's
                                                                         24   prompt Rule 15 motion evinces bad faith or undue delay.             Finally,
                                                                         25   Sharp's prior amendments did not concern this particular issue, so
                                                                         26   this is not a matter of Sharp repeatedly failing to cure a stated
                                                                         27   deficiency.    Accordingly, the Court considers only whether Toshiba
                                                                         28   has established that Sharp's proposed amendment would be futile.



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                                                                          1   The Court finds that it would not be.
                                                                          2        Preliminarily, the Court finds it irrelevant that, as Toshiba
                                                                          3   states, Sharp's proposed amendment "would not add any new facts or
                                                                          4   circumstances."     Opp'n at 11-12.    Proper amendments do not need to
                                                                          5   add new factual allegations.       A proper amendment may also cure a
                                                                          6   defect in order to present a valid claim, thereby avoiding
                                                                          7   futility.
                                                                          8             i.       Futility - BTA Interpretation
                                                                          9        As the Court found in its March 13 Order, the BTA governs CRT-
                                                                         10   related transactions between Sharp and Toshiba, even those
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                                                                         11   conducted by these subsidiary entities through individual
                                                                         12   agreements and purchase orders governed by the BTA's terms.            Mar.
                                                                         13   13 Order at 6-8.      Toshiba contends, however, that the BTA's
                                                                         14   "Resolution of Doubt or Disputes" clause, read alongside the forum-
                                                                         15   selection clause, requires joint and several liability claims
                                                                         16   between Sharp and Toshiba to be litigated in Japan as well -- even
                                                                         17   when they are not necessarily related to direct Sharp-Toshiba
                                                                         18   commerce.      Opp'n at 13-15.   The Court finds Toshiba's
                                                                         19   interpretation of the BTA incorrect on these points.
                                                                         20        The "Resolution of Doubt or Disputes" clause, Article 21.1 of
                                                                         21   the BTA, states, "[w]hen there are disputes or doubts that arise in
                                                                         22   relation to this Agreement or individual Agreement, or when there
                                                                         23   are unsolved items in this Agreement or individual Agreement,
                                                                         24   resolutions shall be made between [Sharp and Toshiba] in good
                                                                         25   faith."     ECF No. 2000, Ex. 3 ("BTA") (filed under seal).         The
                                                                         26   forum-selection clause, Article 21.2 of the BTA, states, "[i]n
                                                                         27   terms of litigation related to this Agreement or the individual
                                                                         28   Agreement, the Osaka District Court shall be the court of competent



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                                                                          1   jurisdiction."       BTA Art. 21.2.
                                                                          2           Toshiba contends that a properly alleged joint and several
                                                                          3   liability claim based on conspiracy-related activity concerning
                                                                          4   other parties would violate Article 1.1 of the BTA, which requires
                                                                          5   the parties to "set their foundation on mutual trust and respect
                                                                          6   for mutual benefits."        According to Toshiba, a conspiracy among it
                                                                          7   and other defendants that resulted in Sharp's paying higher prices
                                                                          8   would be a breach of this mutual trust and respect.             Opp'n at 13-
                                                                          9   14.     Further, Toshiba argues, if there are any doubts concerning
                                                                         10   how far, exactly, the BTA extends in cases like this, those doubts
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                                                                         11   are to be resolved in the Osaka District Court pursuant to Articles
                                                                         12   21.1 and 21.2       Id. at 14-15.
                                                                         13           The Court is not convinced by this overbroad interpretation of
                                                                         14   the BTA.      As a matter of contract interpretation involving a forum-
                                                                         15   selection clause, the Court's task is, first, to decide the
                                                                         16   clause's scope and applicability, and, second, to determine whether
                                                                         17   the clause applies to the behavior at issue.            See Peterson v.
                                                                         18   Boeing Co., 715 F.3d 276, 280 (9th Cir. 2013) (holding that
                                                                         19   enforceability and interpretation of forum-selection clauses is an
                                                                         20   issue of federal law); Robeson v. Twin Rivers Unified Sch. Dist.,
                                                                         21   No. 2:14-2 WBS KJN, 2014 WL 1392922, at *1-2 (E.D. Cal. Apr. 9,
                                                                         22   2014) (applying that principle). 4
                                                                         23           Further, the Court finds that the BTA's plain meaning involves
                                                                         24   relations between Sharp, Toshiba, their parents, and their
                                                                         25
                                                                              4
                                                                         26     Toshiba cites a case concerning questions of arbitrability, Moses
                                                                              H. Cone Memorial Hospital v. Mercury Construction Corp., 460 U.S.
                                                                         27   1, 24-25 (1983), but that case is inapposite because the law and
                                                                              policy of arbitration is not identical to that concerning a court's
                                                                         28   interpretation of a forum-selection clause outside the arbitration
                                                                              context.


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                                                                          1   subsidiaries, so far as they concern the manufacture and supply of
                                                                          2   CRTs.    The resolution of doubt or disputes arising in relation to
                                                                          3   the BTA or individual agreements (e.g., purchase orders) that are
                                                                          4   subject to the BTA's terms is a matter the parties reserved for the
                                                                          5   Osaka District Court.     See Mar. 13 Order at 11-14.       However, the
                                                                          6   Court does not find that the BTA's Resolution of Doubt or Disputes
                                                                          7   clause renders claims for joint and several liability -- unrelated
                                                                          8   to the BTA or its individual agreements themselves -- similarly
                                                                          9   subject to the forum-selection clause.        As Sharp correctly notes,
                                                                         10   under the plain meaning of the term "related to" in that clause,
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                                                                         11   the claims "must involve the [agreement] itself to trigger the
                                                                         12   clause."    Reply at 6 (quoting Coal. for ICANN Transparency Inc. v.
                                                                         13   Verisign, Inc., 452 F. Supp. 2d 924, 921-32 (N.D. Cal. 2006)).          The
                                                                         14   BTA sends certain disputes and doubts to the Osaka District Court,
                                                                         15   but those disputes and doubts must at least be related to the
                                                                         16   Sharp-Toshiba transactions the BTA governs.         Any potential
                                                                         17   conspiracy-related joint and several liability Toshiba may have in
                                                                         18   relation to other agreements is distinct in scope.
                                                                         19           The Court therefore finds Toshiba's interpretation of the BTA
                                                                         20   too broad and vague to be acceptable in these circumstances.         The
                                                                         21   BTA does not render Sharp's claims against Toshiba for joint and
                                                                         22   several liability subject to dismissal under the forum-selection
                                                                         23   clause, so amendment to clarify Sharp's claims against Toshiba
                                                                         24   would not be futile on that ground.
                                                                         25            ii.      Futility - Forum Non Conveniens
                                                                         26           Toshiba also argues that, separately from issues of the BTA's
                                                                         27   scope, Sharp's proposed amendment would be futile because the
                                                                         28   doctrine of forum non conveniens would compel dismissal of Sharp's



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                                                                          1   claims for joint and several liability.        On this issue, Toshiba
                                                                          2   points to the March 13 Order's discussions of the suitability of
                                                                          3   the Osaka District Court, but the Court notes as a preliminary
                                                                          4   matter that the March 13 Order's discussion is not entirely
                                                                          5   apposite.   It concerned a forum-selection clause, under which the
                                                                          6   parties specifically contracted to commit certain issues to a
                                                                          7   different court.    Although a motion to dismiss that applies a
                                                                          8   forum-selection clause is to be analyzed within the rubric of forum
                                                                          9   non conveniens doctrine, Atl. Marine, 134 S. Ct. at 580, dismissal
                                                                         10   under forum non conveniens when a forum-selection clause is not
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                                                                         11   involved requires slightly different balancing inquiries.
                                                                         12        "A party moving to dismiss on grounds of forum non conveniens
                                                                         13   must show two things: (1) the existence of an adequate alternative
                                                                         14   forum, and (2) that the balance of private and public interest
                                                                         15   factors favors dismissal."      Lockman Found. v. Evangelical Alliance
                                                                         16   Mission, 930 F.2d 764, 767 (9th Cir. 1991).
                                                                         17        The Ninth Circuit has stated that "while a U.S. citizen has no
                                                                         18   absolute right to sue in a U.S. court, great deference is due
                                                                         19   plaintiffs because a showing of convenience by a party who has sued
                                                                         20   in his home forum will usually outweigh the inconvenience the
                                                                         21   defendant may have shown."      Contact Lumber Co. v. P.T. Moges
                                                                         22   Shipping Co., Ltd., 918 F.2d 1446, 1449 (9th Cir. 1990).
                                                                         23   Nonetheless, "[a] citizen's forum choice should not be given
                                                                         24   dispositive weight . . . ."      Piper Aircraft Co. v. Reyno, 454 U.S.
                                                                         25   235, 255 n.23 (1981).     "[I]f the balance of conveniences suggests
                                                                         26   that trial in the chosen forum would be unnecessarily burdensome
                                                                         27   for the defendant or the court, dismissal is proper."           Id.
                                                                         28        Even though the Court found dismissal under the forum-



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                                                                          1   selection clause proper, the Court does not find that the doctrine
                                                                          2   of forum non conveniens applies here to render Sharp's proposed
                                                                          3   amendment futile.
                                                                          4                   a.    Adequate Alternative Forum
                                                                          5        First, though there is an adequate alternative forum, the
                                                                          6   Ninth Circuit and Supreme Court have instructed district courts to
                                                                          7   give substantial (though not dispositive) deference to a
                                                                          8   plaintiff's choice of forum.      Piper Aircraft, 454 U.S. at 255 n.23;
                                                                          9   Gates Learjet Corp. v. Jensen, 743 F.2d 1325, 1335 (9th Cir. 1984).
                                                                         10   The most important consideration under the circumstances is whether
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                                                                         11   the balance of conveniences suggests that a trial on the issue of
                                                                         12   joint and several liability in this Court would be unnecessarily
                                                                         13   burdensome for Toshiba or the Court.       Piper Aircraft, 454 U.S. at
                                                                         14   256 n.23.   The Court finds that this factor favors Sharp.
                                                                         15                   b.    Private Interest Factors
                                                                         16        Second, the Court finds that the private interest factors do
                                                                         17   not suggest that Toshiba would be unacceptably inconvenienced by
                                                                         18   dealing with the issue of Sharp's joint and several liability
                                                                         19   claims in this Court.     "Private interest factors include: ease of
                                                                         20   access to sources of proof; compulsory process to obtain the
                                                                         21   attendance of hostile witnesses, and the cost of transporting
                                                                         22   friendly witnesses; and other problems that interfere with an
                                                                         23   expeditious trial."    Contact Lumber, 918 F.2d at 1451; see also
                                                                         24   Nebenzahl v. Credit Suisse, 705 F.2d 1139, 1140 (9th Cir. 1983).
                                                                         25        Toshiba argues that most of its witnesses are located in Japan
                                                                         26   and that only the Osaka District Court can hear disputes between
                                                                         27   Sharp and Toshiba.    Opp'n at 14-17.     The Court finds that this
                                                                         28   factor does not favor Toshiba.      Discovery has proceeded in this MDL



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                                                                          1   with relative ease, with Toshiba having already presented numerous
                                                                          2   witnesses for deposition.     It is possible that Toshiba could be
                                                                          3   inconvenienced by producing more witnesses, but the Court does not
                                                                          4   find this an overly burdensome task for this defendant.
                                                                          5        The Court also finds that while the parties committed specific
                                                                          6   disputes to the Osaka District Court via the BTA, the issue of
                                                                          7   Toshiba's potential joint and several liability is distinct from
                                                                          8   the issues the parties agreed would be heard abroad.          The Court
                                                                          9   does not find that honoring the parties' agreement on certain
                                                                         10   limited disputes would splinter this case.        This is particularly
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                                                                         11   true here because the issue of joint and several liability seems
                                                                         12   uniquely well-suited to resolution before this Court, due to the
                                                                         13   long involvement of nearly every relevant party and the fact that
                                                                         14   issues of Toshiba's joint and several liability were not
                                                                         15   specifically committed to a foreign court.        Cf. Lockman, 930 F.2d
                                                                         16   at 770 (finding that the policy favoring an expeditious trial
                                                                         17   merited a conclusion that the foreign jurisdiction was best, since
                                                                         18   that jurisdiction was the only forum where the entire case could be
                                                                         19   tried); Contact Lumber, 918 F.2d at 1452 (finding similarly).
                                                                         20        Granted, the fact that Toshiba would be defending its case in
                                                                         21   two separate jurisdictions does suggest some inconvenience to
                                                                         22   Toshiba.   Still, the Court does not find this inconvenience
                                                                         23   compelling in this case because Toshiba specifically contracted to
                                                                         24   have certain claims heard in a foreign court, even while it has
                                                                         25   participated in this litigation for years, with discovery nearing a
                                                                         26   close and other deadlines coming expeditiously close.          Moreover,
                                                                         27   this inconvenience does not seem unacceptably burdensome for a
                                                                         28   multinational corporation like Toshiba.



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                                                                          1         The Court therefore finds that the private interest factors
                                                                          2   weigh in favor of rejecting Toshiba's argument on futility.
                                                                          3                   c.     Public Interest Factors
                                                                          4         Finally, the Court finds that the public interest factors
                                                                          5   merit retaining the issue of Toshiba's joint and several liability.
                                                                          6   "Public interest factors encompass court congestion, the local
                                                                          7   interest in resolving the controversy, and the preference for
                                                                          8   having a forum apply a law with which it is familiar."          Contact
                                                                          9   Lumber, 918 F.2d at 1452; see also Nebenzahl, 705 F.2d at 1140.
                                                                         10   Toshiba contends that by finding Sharp's proposed amendment futile
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                                                                         11   and committing the dispute to the Osaka District Court, the Court
                                                                         12   would further the goals of judicial efficiency and economy by
                                                                         13   ensuring that all of Sharp's claims would be heard in one forum.
                                                                         14   Opp'n at 17.   The Court is not convinced.       This litigation has
                                                                         15   proceeded before the undersigned for years, with the Court and the
                                                                         16   Special Master now being well acquainted with the parties and
                                                                         17   issues in this case.    The Court's calendar on this case is well
                                                                         18   advanced.   Moreover, the parties' contractual resolution of certain
                                                                         19   jurisdictional matters aside, this forum has a strong interest in
                                                                         20   resolving this case.    See Carijano v. Occidental Petroleum Corp.,
                                                                         21   643 F.3d 1216, 1232 (9th Cir. 2011).       Sharp's allegations regarding
                                                                         22   joint and several liability concern a worldwide conspiracy to fix
                                                                         23   prices in the United States.      That is a significant factor in favor
                                                                         24   of keeping this issue in this forum.
                                                                         25         Accordingly, the Court finds that the public interest factors
                                                                         26   weigh in favor of rejecting Toshiba's argument on futility.
                                                                         27   ///
                                                                         28   ///



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                                                                          1         iii.        Conclusion as to Rule 15
                                                                          2        The Court finds that Sharp's motion, considered under the
                                                                          3   extreme liberality of Rule 15, warrants permitting Sharp to file
                                                                          4   its amended complaint.     The parties could have resolved some of
                                                                          5   these issues in a more straightforward, timely way, but
                                                                          6   nevertheless, Sharp has sufficiently shown that it is entitled to
                                                                          7   amend its pleadings, and Toshiba has failed to show that such an
                                                                          8   amendment would be either procedurally improper or substantively
                                                                          9   futile.
                                                                         10
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                                                                         11   V.   CONCLUSION
                                                                         12        As explained above, the Court GRANTS the Sharp Plaintiffs'
                                                                         13   motion for leave to amend their complaint.
                                                                         14
                                                                         15        IT IS SO ORDERED.
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                                                                         17        Dated: June 9, 2014
                                                                         18                                             UNITED STATES DISTRICT JUDGE
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